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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA



TYANNE DAVENPORT                    *             CIVIL ACTION NO.: 2:16-cv-13133
                                    *
v.                                  *             JUDGE: MARTIN L.C. FELDMAN
                                    *
EDWARD D. JONES & CO., L.P.         *             MAGISTRATE: MICHAEL NORTH
                                    *
*************************************


                          PLAINTIFF’S NOTICE OF APPEAL

       COMES NOW Plaintiff, TyAnne Davenport, by and through counsel of record, pursuant

to Fed. R. App. P. 3, and appeals the judgment enter May 4, 2017 (Doc. 42) dismissing all of

Plaintiff’s claims against Defendant Edward Jones to the United States Fifth Circuit Court of

Appeals.


                                          Respectfully submitted,
                                          ROBEIN, URANN,
                                          SPENCER, PICARD & CANGEMI


                                          s/Christina L. Carroll
                                          Christina L. Carroll (LA Bar No. 29789)
                                          2540 Severn Avenue, Suite 400
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing Plaintiff’s Notice of Appeal has

been served on the following counsel of record via the Court’s Electronic Filing/Notification

System:

                                    Christopher E. Moore
                                    Monique Doucett
                                    Ogletree, Deakins, Nash, Smoak & Stewart
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                                    New Orleans, LA 70139
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this 10th day of May, 2017.



                                           s/Christina L. Carroll
                                           Christina L. Carroll (LA Bar No. 29789)




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